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EXHIBIT B

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DOCKET NO.: SCC-369574 ) SUPERIOR COURT
)
SONIA I. ALESSl ) SMALL CLAIl\/IS SESSION
) AT CENTRALIZED, VENUE SCAZZ
Plaintiff, )
v. )
)
WORLD FINANCIAL NETWORK )
NATIONAL BANK, )
)
Defendant. ) January 3, 201 l

NOTICE ()F FILING NOTICE OF REMOVAL

PLEASE TAKE NOTICE that this ease, which Was previously pending in the Superior
Court, Srnall Clainns Session at Centralized, Venue SCA22, has been removed to the United
States Distriet Court for the District of Conneetieut by the defendant, World Finaneial Network
National Bank, pursuant to Title 28 U.S.C. §§ 1331, 1441 and 1446. A copy ofthe Notice of
Removal, filed with the United States District Court for the District of Connectieut is attached
hereto as E)<;hibit A.

PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § l446(d), this Court

“shall proceed no further unless and until the case is remanded.”

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Dated: January 3, 201 1

Respectfully submitted,

THE DEFENDANT,
WORLD FINANCIAL NETWORK NATI()NAL BANK,

By its attorneys,

 

David M. Bizar
dbizar@seyfarth.corn
eweibust@seyfarth.com
Seyfarth Shaw, LLP

World Trade Center East
Two Seaport Lane, Suite 300
Boston, MA 02210
Telephone: (617) 946-4874
Facsirnile: (617) 790-5368

CERTIFICATE OF SERVICE

1 hereby certify that on this 3rd day ofJanuary, 201 1, a true copy of the foregoing Was
served by Hrst class mail upon all parties of record, as follows:

Sonia 1. Alessi

16 Knapp Street
Easton, Connecticut 06612

 

David l\/I. Bizar

